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     Case: 3:23-cv-00011-TMR-PBS Doc #: 3 Filed: 01/17/23 Page: 2 of 4 PAGEID #: 15




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V-A Police

4100     w. Third St.
    Dayton Oh. 45428

Phone 937.268. 6511



Miami Valley Housing Opportunities

907 W fifth st      suite 300

Dayton, Ohio 45428

Phone: 937 .263.4449



Attorney for     Miami Valley Housing Opportunities

Lasky & Schararer

3461 Office park Dr

Kettering, Ohio 45439

    Phone 9372.686.511
   Case: 3:23-cv-00011-TMR-PBS Doc #: 3 Filed: 01/17/23 Page: 3 of 4 PAGEID #: 16



  October 17,2022



  Your Honor,

  I'm writing This Letter: To obtain a court appointed attorney To represent me in the matter of the.
 V-A Police with Miami Valley Opportunities Illegally. Entering. My apartment illegally on May 25 200
 To obtain a. subpoena to have the V-A Police for the release of. Video and and Audio on May 25 2022
 And for the. Court to Jury. Trial as well



 On May 25 th 2022, the V-A Police department with Miami Valley Housing Opportunities entered
 My Apartment with a pass key looking for someone in my apartment who was supposed to be
 trespassing but was not not trespassing under the law Thee Violated My Rights Under the Law.

  I cannot afford. one since. I'm 'm on a fixed Income and Indigent. Also I ask the court to Grant
 me a Jury trial as well as well . Finally I ask for a subpoena for the Audio and Video from the V-
 A Police Department So as you can see, for yourself j with your own eyes, what happened really
 took place, . The Va Police Dept even wrote a ticket on my guest on May 25 th 2022.

 I'm therefore filing a law suit against the the VA Police and Miami valley Housing Opportunities
 for violating my Rights under the Law. Enclosed are the Phone numbers for Mvho V-A Police
 and the. Attorney. Representing Miami Valley Housing Opportunities




  Kevin Wright

 937 7158116

 1921 South Gettysburg Ave

  Dayton, Ohio 45417

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